                          Case 4:11-cr-00156-JM Document 547 Filed 01/22/13 Page 1 of 6

A0245B         (Rev. 09/11) Judgment in a Criminal Case
                                                                                                                           FILED
                                                                                                                        U.S. DISTRICT COURT
                                                                                                                    EASTERN DISTRICT ARKANSI'.S
               Sheet 1



                                          UNITED STATES DISTRICT COURJAMES                                                           LERK
                                       Eastern District of Arkansas                                          By:_-+:f-V-~.....W~~=-='='"'
                                                    )
              UNITED STATES OF AMERICA              )      JUDGMENT IN A CRIMINAL CASE
                         v.                         )
                                                    )
                SELVIN GARCIA-GARCIA                       Case Number:      4:11CR00156-06 JLH
                                                    )
                                                    )      USMNumber:        26644-009
                                                    )
                                                    )      John Wesley Hall, Jr.
                                                                                  Defendant"s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         Counts 1, 16 of Superseding Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
21 U.S.C. §§ 841(b)(1)(A)         Conspiracy to possess with intent to distribute methamphetamine,           12/12/2011                    1
  and 846                          a Class A felony
21 U.S.C. §§ 841(a)(1)            Possession with intent to distribute methamphetamine on premises            12/12/2011                   16
  and 860a                         where children are present or reside, a Class A felony


       The defendant is sentenced as provided in pages 2 through           -----'6'----- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      15 of Superseding Indictment              X is    D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.




                                                                          J, LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          January 22, 2013
                                                                          Date
                          Case 4:11-cr-00156-JM Document 547 Filed 01/22/13 Page 2 of 6
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                 Judgment- Page _-':'2_ of   6
DEFENDANT:                     SELVIN GARCIA-GARCIA
CASE NUMBER:                   4:11CR00156-06 JLH


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

123 MONTHS on Count 1 and 12 MONTHS on Count 16 to run consecutively for a TOTAL TERM
OF 135 MONTHS

   X The court makes the following recommendations to the Bureau of Prisons:
     The Court recommends defendant participate in parenting classes during incarceration.



   X The defendant is remanded to the custody of the United States Marshal.

   D The defendant shall surrender to the United States Marshal for this district:
          D at      -------------------
                                                     D a.m.   D p.m.     on

          D as notified by the United States Marshal.

   D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                     to

a _______________________________ , with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL



                                                                        By ------~==~====~~~~~~-----
                                                                                 DEPUTY UNITED STATES MARSHAL
                            Case 4:11-cr-00156-JM Document 547 Filed 01/22/13 Page 3 of 6

AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page --=3- of              6
DEFENDANT:                      SELVIN GARCIA-GARCIA
CASE NUMBER:                    4:11CR00156-06 JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                                                              FIVE (5) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act ( 42 U.S.C. § 16901, et seq.)
D        as directed by the probation officer, the l3ureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or £ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                       Case 4:11-cr-00156-JM Document 547 Filed 01/22/13 Page 4 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 3A- Supervised Release
                                                                                                Judgment-Page --"-4_    of       6
DEFENDANT:                 SELVIN GARCIA-GARCIA
CASE NUMBER:               4:11CR00156-06 JLH

                                     ADDITIONAL SUPERVISED RELEASE TERMS

14) If the defendant is deported after serving his term of incarceration, he will not be allowed to return to the United States
illegally during the period of his supervised release. If he does return illegally, it will be considered a violation of his supervised
release. If the defendant is not deported, he must contact the United States Probation Office within 72 hours of release from
custody.
                         Case 4:11-cr-00156-JM Document 547 Filed 01/22/13 Page 5 of 6
AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- Page --"-5_ _   of     6
DEFENDANT:                         SELVIN GARCIA-GARCIA
CASE NUMBER:                       4:11CR00156-06 JLH
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                          Fine                                Restitution
TOTALS            $ 200.00                                            $ 0                                $ 0


D The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priorit)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is pmd.

Name of Payee                                 Total Loss*                      Restitution Ordered                   Priority or Percentage




TOTALS                              $                                       $ _ _ _ _ _ _ _ __


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the            D fine    D restitution.
     D the interest requirement for the           D   fine    D restitution is modified as follows:


*Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April23, 1990.
                         Case 4:11-cr-00156-JM Document 547 Filed 01/22/13 Page 6 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment- Page _      _o:_6_ of          6
DEFENDANT:                  SELVIN GARCIA-GARCIA
CASE NUMBER:                4:11CR00156-06 JLH

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X    Lump sum payment of $           200.00
                                         -=-=--=-:..::_::___ _ __   due immediately, balance due

           D     not later than                                         , or
           D     in accordance           D C,         D D,          D     E, or    D Fbelow; or
B     D Payment to begin immediately (may be combined with                        oc,     D D, or      D F below); or
C     0    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cruninal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, ( 4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
